         Case 1:22-cr-00007-LKG Document 112 Filed 09/13/22 Page 1 of 7



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA

                v.                                 Case No. 22-cr-00007-LKG-1

 MARILYN J. MOSBY,

                        Defendant



       DEFENDANT MARILYN J. MOSBY’S OMNIBUS OPPOSITION TO THE
              GOVERNMENT’S MOTIONS FOR LEAVE TO FILE
                   ADDITIONAL MOTIONS IN LIMINE

       Defendant State’s Attorney Marilyn J. Mosby (“State’s Attorney Mosby”) submits this

omnibus opposition to the government’s untimely motions for leave to file additional motions in

limine. Doc. Nos. 110, 111. As discussed further below, the government’s conclusory motions

should be denied.

                                       INTRODUCTION

       In this latest example of the government’s “trial by ambush” tactics, it now seeks leave to

file two additional motions in limine: one related to State’s Attorney Mosby’s expert disclosures,

and one related to the admissibility of certain documents at trial. Ironically, one of the proposed

motions expressly seeks the extraordinary relief of a continuance of the trial, Doc. No. 111-2, even

though the government claimed to be ready to try this case in April, Doc. No. 39 at 1 (“The

Government … stands prepared to try this case in court on May 2, 2022.”). In doing so, the

government went so far as to mock State’s Attorney Mosby and her counsel for requesting more

time to prepare and present critical expert testimony. See generally id. Despite this grandstanding,

the shoe appears to be on the other foot now, and it is the government that is speaking in terms of
           Case 1:22-cr-00007-LKG Document 112 Filed 09/13/22 Page 2 of 7



a continuance (again, ironically) because of its lack of experts. The government’s motions should

be denied on their hypocrisy alone.

         In any event, neither of the government’s motions for leave have any substantive merit

either, because they come almost two months after the Court’s deadlines for motions in limine

passed, and neither meets the “good cause” standard the Court imposed for such untimely pretrial

motions. As discussed below, the government has known of the need for the evidence addressed

in both underlying motions for months, yet it waited until just days before the start of trial to submit

these surprise motions.1 This type of gamesmanship should not be countenanced and the motions

for leave should be denied.

                                                  ARGUMENT

         In the Court’s April 5, 2022 order granting State’s Attorney Mosby’s motion to continue

the trial date, the court instructed that no further pretrial motions would be considered absent a

showing of good cause. See Doc. No. 46. Now, on the eve of the final pretrial hearing and mere

days before jury selection is set to begin, the government has submitted two motions in limine,

one of which seeks the extraordinary relief of continuing the trial. Despite seeking such

extraordinary relief, however, the government makes almost no effort to meet the “good cause”

required for such leave. Indeed, the government cannot meet the Court’s standard, because its

motions are inherently prejudicial and aimed solely at delaying the trial.

         Rather than trying to meet the relevant standard, the government copies and pastes the same

rationale in both motions: “[g]ood cause exists to file the motion because the facts giving rise to




1
  Given the late notice of these motions—filed on the eve of the Court’s final pretrial conference on September 14,
2022—the response below addresses the motions for leave for purposes of expedience. Of course, if the Court is
inclined to grant the motion for leave (it should not), State’s Attorney Mosby will certainly be prepared to respond to
the substance of the motion on a briefing schedule to be determined by the Court.

                                                          2
          Case 1:22-cr-00007-LKG Document 112 Filed 09/13/22 Page 3 of 7



the motion are recent ….” See, e.g., Doc. No. 110 at 1; Doc. No. 111 at 1. This boilerplate assertion

is simply not true as it relates to either motion.

        As for the motion related to the proposed stipulations regarding letters and emails

containing potential hearsay and privileged materials, Doc. No. 110, the government fails to note

two critical facts.

        First, the government has known since at least February and April of this year – when the

communications in question were produced by the government as part of discovery – that they

were likely to be used at trial, and that their admission would likely involve complex questions of

hearsay, privilege and potential prejudice to State’s Attorney Mosby. But even if there was a

lingering question about whether they would be used at that time, the government put them at issue

when it cited them extensively in its opposition to State’s Attorney Mosby’s motion in limine

related to prior investigations. Despite having known the relevance of these documents for that

long, the government gave the defense less than one day last week to decide whether to agree to a

stipulation regarding their use at trial.

        Second, it was the defense – not the government – that first raised the issue of potential

stipulations related to these documents after the defense team learned of the government’s apparent

intention to stipulate to these communications during conversations with certain witnesses. And

even after State’s Attorney Mosby raised the issue, she was under no obligation to stipulate to or

negotiate anything with the government—despite the government’s contention otherwise. Doc.

No. 110 at 1. In other words, the government had more than ample time to either seek a stipulation

or move in limine for the admission of these documents. Its flawed strategic decision to wait to try

to sneak privileged information in through a last-minute stipulation is no basis for allowing an

untimely motion in limine.



                                                     3
         Case 1:22-cr-00007-LKG Document 112 Filed 09/13/22 Page 4 of 7



       As for the motion related to the defense’s experts and the corollary motion to continue the

trial, Doc. No. 111, the subject of experts has repeatedly come up during these proceedings. It first

arose in April when the defense sought a continuance based on the need for expert witnesses; then

it arose again in July when the defense disclosed those witnesses; finally, it arose again just last

week when the Court ruled on the parties’ expert motions and the defense issued a second

disclosure related to the same witnesses.

       But despite all this talk about experts, the government has been steadfast in its position

since State’s Attorney Mosby’s initial appearance in this case that it does not intend to call any

experts at trial. Now, however, in a shocking about-face, the government is seeking more time

to—wait for it—procure expert witnesses. See Doc. No. 111-2 at 3. It is as if the government

finally understands why State’s Attorney Mosby has insisted all along that experts are needed to

prove the government’s unprecedented charges based on a law that is only two years old.

       Unfortunately for the government, however, that realization comes too late. Its attempt to

delay the trial in an effort to exclude or rebut the critical evidence that only the defendant’s experts

can provide reveals how unprepared it is to address the critical factual and legal questions that the

Superseding Indictment poses but does not adequately answer. See, e.g., Doc. No. 70 (State’s

Attorney Mosby’s Motion to Dismiss Counts 1 & 3).

       That the government wants another bite at the apple to challenge the defense experts is not

good cause for a motion in limine or to delay the trial. These are the same three defense experts

that were disclosed to the government seventy-four (74) days ago on July 1, 2022; the same three

defense experts that the parties extensively briefed throughout the month of July; and the same

three defense experts that the parties discussed at the oral argument on September 7, 2022. Now,




                                                   4
         Case 1:22-cr-00007-LKG Document 112 Filed 09/13/22 Page 5 of 7



two (2) days before jury selection and six (6) days before trial – following a two and a half year

investigation and the resulting toll on State’s Attorney Mosby’s personal and professional life –

the government now seeks a continuance. To be clear, State’s Attorney Mosby is ready to proceed

to trial and any further delay by the government will prejudice her right to a speedy trial.

                                         CONCLUSION

       For the foregoing reasons, State’s Attorney Mosby respectfully requests that this Court

deny the government’s motions for leave to file additional motions in limine, Doc. Nos. 110 and

111.


Dated: September 13, 2022               Respectfully Submitted,



                                        /s/ A. Scott Bolden___

                                        A. Scott Bolden (admitted pro hac vice)
                                        Rizwan A. Qureshi (admitted pro hac vice)
                                        Reed Smith LLP
                                        1301 K Street, N.W.
                                        Suite 1000 - East Tower
                                        Washington, D.C. 20005-3373
                                        Telephone: +1 202 414 9200
                                        Facsimile: +1 202 414 9299
                                        RQureshi@ReedSmith.com
                                        ABolden@ReedSmith.com

                                        Kelley Miller (admitted pro hac vice)
                                        Reed Smith LLP
                                        7900 Tysons One Place, Suite 500
                                        McLean, Virginia 22102
                                        Telephone: + 1 703 641 4200
                                        Facsimile: +1 703 641 4340
                                        KMiller@ReedSmith.com

                                        Anthony R. Todd (admitted pro hac vice)
                                        Reed Smith LLP
                                        10 South Wacker Drive
                                        40th Floor
                                        Chicago, IL 60606-7507
                                        Telephone: + 312.207.1000
                                        Facsimile: + 312.207.6400
                                        ATodd@ReedSmith.com


                                                 5
Case 1:22-cr-00007-LKG Document 112 Filed 09/13/22 Page 6 of 7



                       Gary E. Proctor (Bar No. 27936)
                       Law Offices of Gary E. Proctor, LLC
                       8 E. Mulberry Street
                       Baltimore, Maryland 21202
                       Telephone: (410) 444-1500
                       garyeproctor@gmail.com

                       Lucius T. Outlaw III (Bar No. 20677)
                       Outlaw PLLC
                       1351 Juniper St. NW
                       Washington, DC 20012
                       Telephone: (202) 997-3452
                       loutlaw3@outlawpllc.com

                       Counsel for Defendant Marilyn J. Mosby




                               6
         Case 1:22-cr-00007-LKG Document 112 Filed 09/13/22 Page 7 of 7



                                    CERTIFICATE OF SERVICE


       I certify that, on September 13, 2022, this document was electronically filed with the Clerk

of Court using the Court’s CM/ECF system, which will then serve a notification of the filing to

the registered parties of record.




                                        /s/ A. Scott Bolden
                                       A. Scott Bolden




                                                 7
